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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS

                                   )
UNITED STATES OF AMERICA           )
                                   )
     v.                            )      Cr. No. 92-10369 WES
                                   )
ALFRED W. TRENKLER,                )
                                   )
                 Defendant.        )
                                   )

                            OPINION AND ORDER

     Defendant Alfred Trenkler is a sixty-five-year-old federal

inmate serving a life sentence for convictions stemming from his

role in an October 28, 1991 bombing in Roslindale, Massachusetts

that killed one Boston Police Department Bomb Squad officer and

maimed a second officer.       On November 29, 1993, a jury convicted

Trenkler of illegal receipt and use of explosive materials and

attempted    malicious    destruction       of   property    by   means     of

explosives, in violation of 18 U.S.C. §§ 844(d), 844(i) (Counts 2

and 3), and conspiracy, in violation of 18 U.S.C. § 371 (Count 1).

See Jury Verdict, ECF No. 487.         Trenkler is currently incarcerated

at the U.S. Penitentiary in Tucson, Arizona (“USP Tucson”).

     Defendant moves for compassionate release, asserting that

extraordinary and compelling circumstances warrant his release

based on (1) the COVID-19 pandemic, particularly in light of his

documented heart condition and the outbreak that has left at least

1009 inmates infected with COVID-19 over the past year at USP
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Tucson 1;   and   (2)   what   Trenkler    characterizes    as   a   series    of

miscarriages of justice that call into question his convictions

and    sentence.        See    generally    Def.’s    Emergency      Mot.     for

Compassionate Release Pursuant to 18 U.S.C. § 3582(c)(1)(A) and

Mem. of Law in Supp. (“Def.’s Mot.”), ECF No. 744. 2 For the reasons

set forth below, Trenkler’s Motion is GRANTED IN PART AND DENIED

IN PART.     The Court reduces Trenkler’s sentence to a term of 41

years, followed by a term of supervised release of 3 years on Count

1, 5 years on Count 2, and 5 years on Count 3, all to run

concurrently.

I.     BACKGROUND

       On November 29, 1993, following an eighteen-day trial, a jury

convicted Trenkler on the three counts charged.            See Jury Verdict.

The government’s theory at trial was that Trenkler, along with his

co-defendant, Thomas Shay, Jr., conspired to build and place a

bomb under a vehicle belonging to Shay, Jr.’s father, Thomas Shay,

Sr., with the intent to kill Shay, Sr.          United States v. Trenkler,


       1See Compassionate Release Work: Graphing COVID Cases in
the   Bureau  of   Prisons,   https://law.uiowa.edu/compassionate-
release-work (reflecting a significant outbreak of COVID-19 cases
at USP Tucson in October 2020 through December 2020) (last visited
May 5, 2021).

       In the normal course, a compassionate release motion is
       2

assigned to the district court judge who presided over the
defendant’s sentencing. See 18 U.S.C. § 3582(c). Here, presumably
to avoid the appearance of a conflict of interest, the matter was
reassigned to an out-of-district judge, the undersigned, sitting
by designation.
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61 F.3d 45, 47-48 (1st Cir. 1995) (“Trenkler I”).                   The bomb

accidentally     detonated   after   officers   from   the   Boston    Police

Department Bomb Squad were called to the scene by Shay, Sr.,

resulting in a horrendous scene that took the life of one officer

and severely injured another.        Id. at 48; see also Trenkler Jury

Trial Day 2 Tr. 48-52, Ex. 1 to Def.’s Reply, ECF No. 763-1.           Shay,

Jr.’s motive, the government argued, was the prospect of inheriting

$400,000 in insurance proceeds that Shay, Sr. stood to recover

from a pending lawsuit.       Trenkler Jury Trial Day 2 Tr. 15.             The

government speculated that Trenkler participated in the scheme in

hopes of either seducing Shay, Jr. as a lover or recovering some

of the insurance proceeds for himself. 3        Id. at 25.

     At trial, the government introduced circumstantial evidence

tying Trenkler to the bomb.       This included evidence that Trenkler

fashioned    a    remote-control      explosive     device     in     Quincy,

Massachusetts in 1986 (the “Quincy device”) with similar features,

Trenkler I, 61 F.3d at 48; printouts from a law enforcement

database (the “EXIS database”) that purported to demonstrate that

the Quincy device was a close match to the Roslindale bomb, id. at


     3 Trenkler argues that homophobia permeated his trial. Def.’s
Reply 2, ECF No. 763. Indeed, a review of the trial record shows
that the prosecution arguably focused on Trenkler’s sexuality more
than was necessitated by the legitimate purpose of establishing
the basis for his relationship with Shay, Jr. See id. at 15-16
n.8. This perception is also reflected in several letters from
jurors discussed later in this Opinion. See Def.’s Submission of
Juror Letters, ECF No. 777.
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57-61;      Trenkler’s          statement      to      an    officer   investigating       the

Roslindale bomb that “if we did it, then only we know about

it . . . how will you ever find out . . . if neither one of us

talk[]?”,         id.    at    60     (alteration       in    original);      evidence    that

Trenkler had electronics and explosives knowledge, id.; Trenkler’s

relationship            with    Shay,     Jr.,      id.;     and    Trenkler’s        jail-cell

confession to cellmate David Lindholm, id.                          Lindholm and Trenkler

shared a jail cell at Plymouth House of Corrections in December

1992.        During       the    four     days      they     roomed    together,      Lindholm

testified, the two inmates “gradually ‘bonded’ upon discovering

that       they    came        from    the    same      home    town    and     had    similar

backgrounds.”            Id. at 50.       Lindholm further testified that, while

Trenkler      initially          denied      his    guilt,     in   time   he   admitted    to

building the Roslindale bomb.                      Id. at 51.       Other than Trenkler’s

confession to Lindholm, there was no direct evidence supporting

Trenkler’s conviction.                See Trenkler Sentencing Hr’g Tr. (Mar. 8,

1994) at 59, Ex. 1 to Gov’t Opp’n, ECF No. 758-1 (noting the lack

of direct evidence).

       On March 8, 1994, the district court 4 sentenced Trenkler to

concurrent terms of life imprisonment on Counts 2 and 3 (receipt

of explosive materials and attempted malicious destruction of




       In this Opinion, the trial court judge, U.S. District Judge
       4

Rya Zobel, is referred to either as the district court or Judge
Zobel for clarity and readability.
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property by means of explosives), as well as a concurrent term of

60   months   on   Count   1   (conspiracy). 5    See   ECF   No.   552.     In

formulating the basis for Trenkler’s sentence, the district court

found that Trenkler had intended to kill Shay, Sr. when Trenkler

placed the bomb under the driver’s seat of Shay, Sr.’s car.                  See

Trenkler Sentencing Hr’g Tr. (Mar. 8, 1994) at 27-28.

      Throughout the history of this case, Trenkler has maintained

his innocence and pursued nearly every plausible avenue of relief.

See Trenkler Disposition (Mar. 8, 1994) Tr. 31-59, ECF No. 763-2

(Trenkler proclaiming his innocence during his allocution).                  In

July 1995, the First Circuit affirmed Trenkler’s conviction on

direct appeal.      See Trenkler I, 61 F.3d at 59.            The court held

that the district court had erred in admitting evidence from the

EXIS database to establish the identity of the bombmaker, because

that evidence was unreliable.         Id.   Over Judge Torruella’s strong


      5Shay, Jr. was tried on the same three Counts as Trenkler.
He was sentenced to concurrent terms of 188 months’ and 60 months’
imprisonment, after a jury convicted him on Counts 1 and 3 and
acquitted him on Count 2.    ECF No. 351.   Importantly, Count 2,
charging receipt of explosive materials, was the only count that
included intent to kill language. Presuming the jury had rejected
the premise that Shay, Jr. intended to kill his father, the
district court noted at sentencing that it determined the
applicable guideline was that for second-degree murder. See Shay,
Jr. Sentencing Hr’g Tr. (Oct. 8, 1993) at 103, 131, 135, Ex. 6 to
Gov’t Opp’n, ECF No. 758-6. The First Circuit overturned Shay,
Jr.’s conviction on appeal, and, on remand, Shay, Jr. pleaded
guilty and was sentenced to 144 months’ imprisonment, after
receiving credit for acceptance of responsibility. ECF No. 631.
In September 2007, he wrote to the district court declaring
Trenkler’s innocence. See ECF No. 709.
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dissent, the panel concluded the error was harmless and affirmed

Trenkler’s conviction.       Id. at 59-60, 62.           Thereafter, Trenkler

filed several motions for new trial and to vacate under 28 U.S.C.

§ 2255.    None resulted in relief.

     In 1998, the First Circuit affirmed the trial court’s denial

of Trenkler’s motion for new trial, see United States v. Trenkler,

No. 97-1239, 1998 WL 10265 (1st Cir. Jan. 6, 1998) (“Trenkler II”),

and in 2001, the First Circuit affirmed the denial of Trenkler’s

motion under 28 U.S.C. § 2255.        See Trenkler v. United States, 268

F.3d 16 (2001) (“Trenkler III”).            The Third Circuit, in 2003,

affirmed the      U.S.   District   Court   for    the   Middle   District   of

Pennsylvania’s denial of Trenkler’s petition for writ of habeas

corpus    while   Trenkler   was    incarcerated    at    the   United   States

Penitentiary at Allenwood.          See Trenkler v. Pugh, 83 Fed. App’x

468 (2003) (“Trenkler IV”).

     Undeterred by these setbacks, Trenkler conducted his own

legal research and, in 2005, discovered a new issue, which he

raised in a letter to the district court.          See Ltr from A. Trenkler

to U.S. District Judge Zobel, ECF No. 668.               The district court,

recognizing that Trenkler’s discovery was important, appointed

counsel.    In 2007, Trenkler filed a petition for writ of coram

nobis.    In his petition, Trenkler asserted – for the first time –

that at the time of his sentencing, 18 U.S.C. §§ 844(d) and (i)

provided for the imposition of a life sentence only “if the jury

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shall in its discretion so direct.” See Trenkler v. United States,

No.    06-12072-RWZ,     2007   WL   551620   (D.    Mass.   Feb.   20,   2007)

(“Trenkler V”) (quoting 18 U.S.C. § 34, as incorporated by 18

U.S.C. § 844 (1993)).        Apparently, no one – not defense counsel,

the government, U.S. Probation, nor the district court – was aware

of this statutory edict, and it was never raised prior to or at

sentencing.     Id. at *2-3.     As a result, Judge Zobel had sentenced

Trenkler in 1994 to life imprisonment with no input from the jury. 6

       Trenkler’s appellate and post-conviction relief attorneys had

also missed the issue over the ensuing years.                   Judge Zobel,

acknowledging this fundamental oversight, concluded that she had

imposed a sentence that only a jury could impose under the statute,

and that such circumstances were sufficiently “extraordinary” to

warrant coram nobis relief.          Id. at *6.     She set aside Trenkler’s

sentence and set the matter down for resentencing, where Trenkler,

the surviving victim, and the victims’ families were all present.

       At resentencing, Judge Zobel noted the jury verdict included

an explicit finding that the offense conduct had directly and

proximately caused the death of one police officer and the serious

personal injury of a second and, that while she had found this

translated into first degree murder in the first sentencing, she

was now prohibited from making such a finding.            She further stated



       Six months after Trenkler’s sentencing, the statute was
       6

amended, and it now allows a judge alone to impose a life sentence.
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that in reaching a guilty verdict on Count 2 the jury was asked

whether Trenkler had used explosive material to kill, injure, or

intimidate Shay, Sr., or to cause property damage.             By answering

that broad question in the affirmative, the verdict on Count 2

could only support a finding that Trenkler had the intent to cause

property damage, with death resulting.        Trenkler Resentencing Hr’g

(Apr. 4, 2007) Tr. 60:8-15, 60:18-22, 61:13-18, 62:2-5, ECF No.

758-5.   Judge Zobel then imposed a term of 37 years, which she

noted was Trenkler’s life expectancy at the time of his original

sentencing, on Counts 2 and 3, and a term of 5 years on Count 1,

all to be served concurrently.       Id. at 62:17-19. 7

     But Trenkler’s partial victory was fleeting.                 The First

Circuit reversed the district court’s order granting the writ of

coram nobis, quashed the writ, vacated the amended judgment, and

reinstated the life sentences, concluding that Trenkler’s petition

for a writ of coram nobis was in effect a veiled and untimely

motion to vacate his sentence under § 2255.            Trenkler v. United


     7 Undergirding this sentence were two things.     First, the
Sentencing Guidelines calculations refer the Court to § 2A1.1 and
set the offense level at 43, for which the range is Life. Offense
level 42, one level below the offense level for felony murder, at
Criminal History Category I, has a range of 360 months to Life.
As discussed infra, the Application Note to U.S.S.G. § 2A1.1
directs a district court to consider the facts of the underlying
offense in assessing the appropriate reduction in a felony murder
case. See U.S.S.G. § 2A1.1 cmt. n.2(B). Second, the prevailing
case law at the time made clear that where a judge could not
legally impose a life sentence, she should not exceed Defendant’s
life expectancy in imposing a term of years. See infra n.18.
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States, 536 F.3d 85, 97-98 (1st Cir. 2008) (“Trenkler VI”).                  As

such, the court reasoned, the district court lacked jurisdiction

to entertain Trenkler’s claim where he had not established a

“complete miscarriage of justice” – such as actual innocence.               Id.

at 99.     In the court’s view, a procedural error of the sort

complained of “d[id] not suggest a miscarriage of justice.”                 Id.

The First Circuit did not dispute Judge Zobel’s holding that

Trenkler’s life sentence was unlawfully imposed by a judge not a

jury; instead, the court concluded that the error was procedural

in nature and therefore did not affect Trenkler’s “substantial

rights.”   Id. at 100. 8

     Front and center in Trenkler VI was the tension between the

virtue of finality lauded by the Antiterrorism and Effective Death

Penalty Act of 1996 (“AEDPA”) and a system of justice that corrects

established errors – indeed, the First Circuit noted that “our

criminal justice system tolerates a certain risk of error”.             Id.




     8 In September 2007, shortly after Judge Zobel resentenced
Trenkler, but before the First Circuit reinstated his life
sentence, the First Circuit granted Trenkler leave to file a second
or successive motion under 28 U.S.C. § 2255. See J., Appeal No.
07-2112 (1st Cir. Sept. 6, 2007). Judge Zobel carefully reviewed,
and rejected, Trenkler’s six grounds for relief. See generally
Trenkler v. United States, Civil Action No. 07-11823-RWZ, slip op.
(D. Mass. Mar. 16, 2009). As for actual innocence, Judge Zobel
concluded that Trenkler had not demonstrated that it was more
likely than not that “no reasonable juror would have convicted him
in light of the new evidence”. Id. at 16-19. The First Circuit
affirmed this holding in Trenkler v. United States, Appeal No. 09-
1559, slip op. (1st Cir. June 8, 2010).
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       But little in life is actually final.              In AEDPA, Congress

spoke to the virtue of finality and constrained the number of

attempts a defendant has to challenge his conviction and sentence;

twenty-plus years later, Congress has directed, through the First

Step Act, that the district court should use its discretion to

either grant compassionate release or reduce a sentence where the

movant establishes “extraordinary and compelling” circumstances

and the 18 U.S.C. § 3553 sentencing factors weigh in favor of

release.     United States v. McCoy, 981 F.3d 271, 288 (4th Cir. 2020)

(noting that “§ 3582(c)(1)(A) ‘represents Congress’s judgment that

the    generic    interest    in    finality    must   give   way   in   certain

individual       cases,’   and     authorizes   judges   to   implement    that

judgment” (quoting United States v. Jones, 482 F. Supp. 3d 969,

980–81 (N.D. Cal. 2020)).

II.    DISCUSSION

       A.    The Legal Standard:         Compassionate Release under the
             First Step Act

       The compassionate release statute, 18 U.S.C. § 3582(c), as

amended by the 2018 passage of the First Step Act, allows a

defendant to directly petition the district court in which he was

sentenced for compassionate relief. See id. Section 3582(c)(1)(A)

states in pertinent part:

       the court, upon motion of the Director of the Bureau of
       Prisons, or upon motion of the defendant after the
       defendant has fully exhausted all administrative rights
       to appeal a failure of the Bureau of Prisons to bring a

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       motion on the defendant’s behalf or the lapse of 30 days
       from the receipt of such a request by the warden of the
       defendant’s facility, whichever is earlier, may reduce
       the term of imprisonment (and may impose a term of
       probation or supervised release with or without
       conditions that does not exceed the unserved portion of
       the original term of imprisonment), after considering
       the factors set forth in section 3553(a) to the extent
       that they are applicable, if it finds that —
       (i) extraordinary and compelling reasons warrant such a
       reduction
       ...
       and that such a reduction is consistent with applicable
       policy statements issued by the Sentencing Commission[.]

Id.    (emphasis     added).     Since    its   enactment   as   part   of     the

Sentencing Reform Act of 1984, § 3582(c)(1)(A) has not “define[d]

— or place[d] any limits on — what ‘extraordinary and compelling

reasons’     might   warrant   such   a   reduction.”       United   States    v.

Vigneau, 473 F. Supp. 3d 31, 33 (D.R.I. 2020) (citations omitted). 9



       Indeed, § 3582(c)(1)(A)’s legislative history suggests
       9

Congress intended courts to have broad discretion in defining the
term “extraordinary and compelling reasons.”         As part of
the Comprehensive Crime Control Act of 1984, of which the
Sentencing Reform Act was a part, Congress abolished the federal
parole system.   In an effort to maintain a system that could
respond to changed circumstances in a determinate sentencing
regime, Congress shifted discretion away from the parole board to
the courts. S. Rep. No. 98-225 at 52-56. Specifically, in the
Senate Report accompanying the bill, the Senate Committee stated,
in pertinent part:

       The Committee believes that there may be unusual cases
       in which an eventual reduction in the length of a term
       of imprisonment is justified by changed circumstances.
       Those would include cases of severe illness, cases in
       which other extraordinary and compelling circumstances
       justify a reduction of an unusually long sentence, and
       some cases in which the Sentencing Guidelines for the
       offense of which the defender was convicted have been
       later amended to provide a shorter term of imprisonment
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Congress instead authorized the Sentencing Commission to “describe

what should be considered extraordinary and compelling reasons for

sentence reduction” under § 3582(c)(1)(A), “including the criteria

to be applied and a list of specific examples.”                  28 U.S.C.

§ 994(t).   Though this edict was codified in 1984, the Sentencing

Commission did not promulgate a policy statement on compassionate

release until 2006.      See United States v. Jones, 980 F.3d 1098,

1104 (6th Cir. 2020).      To this day, the only limit Congress has

placed on what may constitute extraordinary and compelling reasons

is that “[r]ehabilitation . . . alone shall not be considered an

extraordinary and compelling reason.”        28 U.S.C. § 994(t)).

     Policy Statement U.S.S.G. § 1B1.13.         In 2006, the Sentencing

Commission promulgated U.S. Sentencing Guidelines § 1B1.13, which

sets forth the Commission’s policy statement on compassionate

release motions filed by the Director of the Bureau of Prisons.



     . . . . The Bill, as reported, provides . . . in proposed
     18 U.S.C. 3583(c) for court determination, subject to
     consideration of sentencing commission standards, of the
     question whether there is justification for reducing a
     term of imprisonment in situations such as those
     described.

S. Rep. No. 98-225, 55-56 (1983) (emphasis added); see also Shon
Hopwood, Second Looks & Second Chances, 41 Cardozo L. Rev. 83,
100–102 (2019) (detailing the origins of the compassionate release
statute in the abolition of the parole system and the accompanying
shift of “second looks” from the parole commission to the
judiciary); S. Rep. 98-225 at 121 (describing § 3583 as providing
“safety valves”, including to “assure the availability of specific
review and reduction of a term of imprisonment for ‘extraordinary
and compelling reasons’”).
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U.S.S.G. § 1B1.13; see also United States v. Brooker, 976 F.3d

228, 232 (2d Cir. 2020) (detailing the 2007 and 2018 amendments to

§ 1B1.13).        In its current iteration, which was last amended in

2018,   §   1B1.13     largely        restates         the    standard      in   18   U.S.C.

§ 3582(c), but also adds the requirement that, before granting a

motion for compassionate release, a court must find that “[t]he

defendant is not a danger to the safety of any other person or to

the community, as provided in 18 U.S.C. § 3142(g)[.]”                              U.S.S.G.

§ 1B1.13(2).

     In     the     Application       Notes       to    §     1B1.13,      the   Sentencing

Commission        expanded    upon     the    meaning          of    “extraordinary      and

compelling        reasons”     by     setting          forth        four   categories     of

circumstances that qualify.             The first three are a defendant’s (1)

medical condition, (2) age, and (3) family circumstances.                                See

U.S.S.G. § 1B1.13 cmt. n. 1(A)–(C).                      The fourth is a catch-all

clause which states:            “[a]s determined by the Director of the

Bureau of Prisons,” an extraordinary and compelling reason may

exist   for   reasons        “other    than,      or     in    combination       with”   the

defendant’s medical condition, age, and/or family circumstances.

U.S.S.G. § 1B1.13 cmt. n. 1(D).

     Application Note 4 to § 1B1.13, titled “Motion by the Director

of the Bureau of Prisons” and added in 2016, states in part that

“[a] reduction under this policy statement may be granted only

upon motion by the Director of the Bureau of Prisons pursuant to

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18 U.S.C. § 3582(c)(1)(A).”              U.S.S.G. § 1B1.13 cmt. n. 4.            It

further acknowledges that “[t]he court is in a unique position to

determine whether the circumstances warrant a reduction (and, if

so, the amount of reduction) . . . .”             Id.

       The First Step Act.         In 2018, the First Step Act was signed

into law.     Characterized as the “culmination of several years of

congressional debate about what Congress might do to reduce the

size   of    the    federal    prison      population    while      also   creating

mechanisms to maintain public safety”, Timothy A. Scott & Larry A.

Burns, Ninth       Circuit    Criminal     Handbook §   14.18[3]      (2020),   the

First Step Act reduces or eliminates mandatory minimums for several

offenses, expands the use of the so-called safety valve provision

in sentencing, and affords additional opportunities for prisoners

to earn good time credit, among other criminal justice reforms.

Vigneau, 473 F. Supp. 3d at 35.               Relevant here, § 603(b) of the

First Step Act amended the compassionate release statute “to

increase the use and transparency of compassionate release.”                    Id.

(citing Section 603(b) of the First Step Act, titled “Increasing

the Use and Transparency of Compassionate Release”)); see also

Jones, 980 F.3d at 1104 (“Frustrated with the BOP’s conservative

approach, a bipartisan coalition in Congress sought to boost grants

of compassionate release by reforming § 3582(c)(1)(A)’s procedures

in the First Step Act of 2018.”).              Consistent with this goal, the

statute     was    amended    to   allow      inmates   to   file    motions    for

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compassionate release directly with their sentencing courts; they

no longer need the Bureau of Prisons to file the motion on their

behalf.     Vigneau, 473 F. Supp. 3d at 34 (citing 18 U.S.C. §

3582(c)(1)(A)); see also Jones, 980 F.3d at 1104 (noting that

“[f]or thirty-four years, only the BOP’s Director could file

motions for compassionate release”).

       The Sentencing Commission has not amended § 1B1.13 since the

First Step Act was enacted.        Nor has the Sentencing Commission

promulgated additional policy statements addressing defendant-

filed motions for compassionate release.           See United States v.

Ebbers, 432 F. Supp. 3d 421, 427 (S.D.N.Y. 2020) (describing the

policy statement contained in U.S.S.G. § 1B1.13 as “at least partly

anachronistic”).     And, it is unlikely that the Commission will

amend the policy statement in the near future because it does not

currently have a quorum of voting members.          Brooker, 976 F.3d at

234.

       The plain text of § 1B1.13 does not apply to defendant-filed

motions    for   compassionate   release.      Indeed,    the   statement’s

introduction exclusively references “motion[s] of the Director of

the Bureau of Prisons” and makes no reference to motions filed by

inmates.    See generally U.S.S.G. § 1B1.13.          Moreover, as noted

above, Application Note 1(D) to U.S.S.G. § 1B1.13, the catch-all

provision, states that release may be appropriate when, “[a]s

determined by the Director of the Bureau of Prisons, there exists

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in the defendant’s case an extraordinary and compelling reason

other   than,   or   in   combination     with”   the    defendant’s   medical

condition, age, and/or family circumstances.              Thus, § 1B1.13 and

its Application      Notes   are   now   inconsistent     with   the   text   of

§ 3582(c)(1)(A); as written, § 1B1.13 pertains only to motions

filed by the Director of the Bureau of Prisons.                  See generally

U.S.S.G. § 1B1.13; see also Brooker, 976 F.3d at 235-36 (reading

“the Guideline as surviving [the First Step Act], but now applying

only to those motions that the BOP has made”).

     This Court agrees with the Second, Fourth, Fifth, Sixth,

Seventh, Ninth, and Tenth Circuits, as well as the majority of

district courts to have considered the issue, in holding that a

district court need not defer to § 1B1.13 when ruling on an inmate-

filed motion for compassionate release.            See Jones, 980 F.3d at

1109 (concluding that § 1B1.13 is “inapplicable” to inmate-filed

motions); see also Brooker, 976 F.3d at 234; United States v.

Shkambi, 993 F.3d 388 (5th Cir. 2021)(holding that “neither the

policy statement nor the commentary to it binds a district court

addressing a prisoner’s own motion under § 3582,” and a district

court “is bound only by § 3582(c)(1)(A)(i) and, as always, the

sentencing factors in § 3553(a)”); United States v. Gunn, 980 F.3d

1178, 1181 (7th Cir. 2020); United States v. Aruda, No. 20-10245,

2021 WL 1307884, at *4 (9th Cir. Apr. 8, 2021) (concluding that

“U.S.S.G.   §   1B1.13    may   inform    a   district    court’s   discretion

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for § 3582(c)(1)(A) motions filed by a defendant” but it is not

binding); McCoy, 981 F.3d at 284; United States v. Maumau, No. 20-

4056, 2021 WL 1217855, at *12 (10th Cir. Apr. 1, 2021); Vigneau,

473 F. Supp. 3d at 35–36 (collecting cases).          But see United States

v. Fox, No. 2:14-CR-03-DBH, 2019 WL 3046086, at *2 (D. Me. July

11, 2019) (collecting cases taking the opposing view).                     More

specifically, this Court follows the Second, Fourth, Fifth, Sixth,

and Tenth Circuits in concluding that the policy statement is

inapplicable to a defendant-filed motion.            See Brooker, 976 F.3d

at 234; Jones, 980 F.3d at 1109; Shkambi, 993 F.3d at 388; McCoy,

981 F.3d at 284; Maumau, 2021 WL 1217855, at *12. 10                  Because

§ 1B1.13 is not applicable where an inmate files a motion on his

own behalf, “[u]ntil the Sentencing Commission updates [the policy

statement] to reflect the First Step Act, district courts have

full        discretion   in   the   interim   to    determine    whether    an

‘extraordinary       and   compelling’   reason    justifies    compassionate

release when an imprisoned person files a § 3582(c)(1)(A) motion.”




       The Seventh Circuit in United States v. Gunn, and the Ninth
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Circuit in United States v. Aruda, suggest that even if not
binding, the policy statement could be useful as a guide to
district courts in considering compassionate release motions. See
United States v. Gunn, 980 F.3d 1178, 1181 (7th Cir. 2020); see
also United States v. Aruda, No. 20-10245, 2021 WL 1307884, at *4
(9th Cir. Apr. 8, 2021). The Court’s conclusion in this Opinion
and Order would not be different had it looked to § 1B1.13 to
inform its decision because, in the Court’s view, the sentencing
error discussed below readily falls within the catch-all
provision. See U.S.S.G. § 1B1.13 cmt. n. 1(D).
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Jones, 980 F.3d at 1109; see also Maumau, 2021 WL 1217855, at *12

(concluding that “Congress did not, by way of § 994(t), intend for

the    Sentencing       Commission     to    exclusively         define    the    phrase

‘extraordinary       and    compelling       reasons,’         but    rather     for    the

Sentencing        Commission    to     describe         those     characteristic        or

significant       qualities     or   features          that    typically    constitute

‘extraordinary and compelling reasons,’ and for those guideposts

to serve as part of the general policy statements to be considered

by district courts” in applying              § 3582(c)(1)(A)).

       With this in mind, the Court proceeds by undertaking the

useful three-part inquiry set forth by the Sixth Circuit in Jones.

See Jones, 980 F.3d at 1107-08.                  Under 18 U.S.C. § 3582(c), once

a defendant demonstrates that he has exhausted the Bureau of

Prisons’     administrative      process         for   compassionate       release,     or

thirty days have lapsed without a decision, whichever occurs first,

a district court may reduce the defendant’s sentence provided that

the court determines: (1) extraordinary and compelling reasons

warrant     the    reduction;    (2)    any       reduction      is   consistent       with

applicable Sentencing Commission policy statements; and (3) the

sentencing factors outlined in 18 U.S.C. § 3553(a) weigh in favor

of release.       Id.    Where the motion for compassionate release was

filed by an inmate, as in this case, the court “may skip step two

of the § 3582(c)(1)(A) inquiry and have full discretion to define

‘extraordinary       and   compelling’           without      consulting   the     policy

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statement § 1B1.13.”      Id. at 1111.      And, of course, the defendant

carries the burden on a motion for compassionate release.               Ebbers,

2020 WL 91399, at *4.

     Courts have broad discretion to determine what constitutes an

extraordinary    and     compelling    reason    under    §    3582(c)(1)(A).

Indeed,    “district       courts     are     empowered        .    .   .     to

consider any extraordinary and compelling reason for release that

a defendant might raise,” McCoy, 981 F.3d at 281-82 (quotation and

citation omitted), short of the statutory prohibition against

looking to rehabilitation alone, see 28 U.S.C. § 994(t).

     B.   Exhaustion of Administrative Remedies

     Trenkler petitioned the USP Tucson Warden in May and November

of 2020 and received two letters in response denying his requests

for compassionate release.      See Ltr from Warden Rardin dated June

4, 2020, ECF No. 744-3; Ltr from Warden Colbert dated Jan. 13,

2021, ECF No. 754-1.      The Court finds that Trenkler has exhausted

his administrative remedies as contemplated by 18 U.S.C. § 3582(c).

     C.   Extraordinary and Compelling Circumstances

          1.     COVID-19 and Trenkler’s Medical Condition

     Trenkler    contends      that    extraordinary          and    compelling

circumstances    exist    warranting       immediate   release      because   he

suffers from severe cardiac disease, which puts him at increased

risk of serious illness and death were he to contract COVID-19.

Def.’s Mot. 1.     The government initially took the position that

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Trenkler’s      medical     condition    constituted    extraordinary        and

compelling circumstances in light of the COVID-19 pandemic, but it

opposed granting relief in this particular case.            See Gov’t Opp’n

7, ECF No. 758 (stating that Trenkler’s heart conditions “under

current CDC guidelines, make him at risk of severe illness from

COVID-19, which, under current guidance from the Department of

Justice, is an ‘extraordinary and compelling circumstance’”).                The

government has changed its position and now asserts that there

exist     no   compelling    and   extraordinary   circumstances     because

Trenkler received his first dose of the Moderna vaccine for COVID-

19 on April 20, 2021.          See Not. re: Gov’t Position on “Binary

Choice” Issue 2, ECF No. 801; see also Not. of Vaccination, ECF

No. 800. 11

     In support of his Motion, Trenkler offers the Declarations of

Drs. Morgan Esperance and AbdulRasheed Alabi.          See Decl. of Morgan

C. Esperance, MD MPH (“Esperance Decl.”) ¶ 6, Ex. 6 to Def.’s Mot.,

ECF No. 744-5; see also Supp. Decl. of Morgan C. Esperance, MD MPH

(“Supp. Esperance Decl.”), Ex. 3 to Def.’s Reply, ECF No. 763-3;

Decl. of AbdulRasheed A. Alabi, MD, PhD (“Alabi Decl.”), Ex. 1 to

Def.’s Notice of Rebuttal Expert Opinion of Cardiologist, ECF No.

775-1.     Dr. Esperance is a hospitalist who is board certified in




     11The BOP first offered Trenkler a vaccine on March 18, 2021,
and he declined it. See generally Gov’t Revised Position, ECF No.
792.
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internal medicine.        Esperance Decl. ¶¶ 1, 3.         She is employed by

Brigham and Women’s Hospital and has cared for patients at risk

for and infected with COVID-19 since March 2020.                   Id. ¶¶ 3, 4.

Dr.    Esperance     reviewed    Trenkler’s      medical   records    from     his

hospital stays in June and July of 2020 following a pacemaker

malfunction, and she opines that he suffers from “a number of

serious, interrelated cardiac conditions.” Id. ¶ 6. In June 2020,

Trenkler was diagnosed with heart failure with decreased ejection

fraction.      Id. ¶¶ 6a, 20.        In addition, Trenkler had coronary

artery disease, ischemic cardiomyopathy, and complete heart block.

Id. ¶¶ 6b-6d.      He also has a twenty-pack-year history of cigarette

smoking.      Id. ¶ 6e. 12      Dr. Esperance concluded that Trenkler’s

cardiac conditions “pose a major risk to his survival even with

optimal medical management.”         Id. ¶ 8.

       Trenkler    also   offers   the    expert    opinion   of   cardiologist

AbdulRasheed A. Alabi, MD, PhD.               See generally Alabi Decl.        Dr.

Alabi, a medical doctor certified in internal medicine, is employed

by Massachusetts General Hospital (“MGH”) and Harvard Medical



       A “pack year” is a unit used to quantify a person’s smoking
       12

history. A single pack year is equal to “smoking an average of
one pack of cigarettes per day for one year.” A twenty-pack-year
history would be the equivalent of smoking one pack of cigarettes
per day for twenty years or two packs per day for ten years. See
Centers for Disease and Control Prevention, Who Should be Screened
for                         Lung                          Cancer?,
https://www.cdc.gov/cancer/lung/basic_info/screening.htm     (last
visited May 5, 2021).

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School     as   a   clinical    and   research    fellow    in     cardiovascular

medicine.       Id. ¶¶ 1, 3.     Dr. Alabi also works at MGH in inpatient

services.       Id. ¶ 3.      In that role, since the COVID-19 pandemic

started, Dr. Alabi has “directly managed or supervised the care of

hundreds of patients with COVID-19,” most of whom were in the

intensive care unit.          Id. ¶ 4.

       Dr. Alabi opines that Trenkler is at heightened risk for

hospitalization       and     death   from    COVID-19     due    to   his   heart

conditions, hypertension, smoking history, and overweight-to-obese

body mass index (ranging from 29 to 31 kg/m2).                     Id. ¶¶ 11-12.

Consistent with Dr. Esperance’s opinion, Dr. Alabi concludes that

Trenkler has an intermittent complete heart block.                      Id. ¶ 7.

Putting a finer point on it, Dr. Alabi notes that the circumstances

surrounding Trenkler’s heart block are “highly suggestive of an

association with progressive heart diseases including worsening

cardiomyopathy and heart failure”.             Id. ¶ 12.         Dr. Alabi finds

that there is insufficient reason to conclude that Trenkler’s

cardiomyopathy is pacemaker induced.             Id.   Moreover, Trenkler has

a history of clinical symptoms and electrocardiographic signs

consistent with progressive heart failure, which is independent

but    interrelated      to    the    cardiomyopathy.        Id.       Trenkler’s

cardiovascular disease profile, in Dr. Alabi’s view, suggests he

would “likely continue to have a risk of severe decompensation”

were he subjected to a physiological stress such as COVID-19.                  Id.

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     In sum, Dr. Alabi views Trenkler’s heart failure as likely

significant and ongoing, exposing him to a heightened risk of

sudden cardiac death.       Id. ¶ 8.    In addition, Dr. Alabi concludes

that Trenkler’s heart conditions, smoking history, hypertension,

and BMI place him at heightened risk of hospitalization and death

from COVID-19.       Id. ¶¶ 11-12.

     The    government     counters    with   the    opinions     of    Dr.   David

Goldberg.     See Decl. of David J. Goldberg, M.D., FACC, FSCAI

(“Goldberg Decl.”) (Jan. 25, 2021), ECF No. 758-4; Decl. of David

J. Goldberg, M.D., FACC, FSCAI (“Goldberg Supp. Decl.”) (Mar. 29,

2021), ECF No. 788. Dr. Goldberg is a board-certified cardiologist

with over twenty years’ experience.            Goldberg Decl. ¶¶ 1-2.            He

serves as the Medical Director of the Cardiac Catheterization

Laboratory and Regional Network Development Physician for Steward

Healthcare.     Id.     Dr. Goldberg opines that Trenkler’s “coronary

artery     disease    is   very   minor”,      he    “may   no     longer     have

cardiomyopathy”, and “[f]urther testing would need to be conducted

to confirm” his current condition.             See id. ¶¶ 9, 10; Goldberg

Supp. Decl. ¶ 5 (stating that “the only way to confirm whether Mr.

Trenkler has an underlying cardiomyopathy as opposed to a pacing

induced cardiomyopathy is to conduct an echocardiogram to assess

whether his ejection fraction has improved” since he received his

new pacemaker).       He states that approximately 75% of patients with

pacing-induced       cardiomyopathy    see    an    improvement    or    complete

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reversal     of   cardiomyopathy       after    receiving     a   biventricular

pacemaker, and faults Trenkler’s experts for reaching conclusions

based on Trenkler’s condition prior to the implantation of the new

pacemaker. Goldberg Supp. Decl. ¶ 6. He maintains that Trenkler’s

cardiomyopathy is likely pacing induced.             Id. ¶ 8.        Dr. Goldberg

is satisfied that, as of the date of his January declaration,

Trenkler’s condition is “being managed well.”                 Goldberg Decl. ¶

11; see also Goldberg Supp. Decl. ¶ 11 (“[I]t appears that the

[BOP] medical personnel have responded promptly and appropriately

when Mr. Trenkler has heart-related medical complaints . . . .”).

He   concluded    that   “there   is   an     approximately    75%    chance   his

ejection fraction will improve within the next six months, to the

extent it has not already improved.”              Goldberg Decl. ¶ 19.         Dr.

Goldberg does not believe Trenkler’s risk of sudden cardiac death

is as high as Dr. Alabi asserts.             Goldberg Supp. Decl. ¶ 10.        Dr.

Goldberg’s concluding paragraph states:

       Finally, I agree that the virus that causes COVID-19 can
       affect the heart, and patients with certain heart
       conditions are at an increased risk for severe illness.
       However,   Mr.  Trenkler   does   not  have   clinically
       significant heart failure or coronary artery disease.
       Further, his biggest risk factor is his cardiomyopathy,
       which as discussed, is reversible and likely improving.

Goldberg Decl. ¶ 20.

       The Centers for Disease Control and Prevention (“CDC”) warns

that    people    with   heart    failure,       coronary     artery     disease,

cardiomyopathies, hypertension and/or a history of smoking have an

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increased risk of severe illness from COVID-19. 13             However one

reads       the   parties’   proffered     expert   declarations,    it     is

inescapable that Trenkler falls within the CDC’s classification of

people at risk for severe COVID-19 illness.           The record reflects

that Trenkler has cardiomyopathy of uncertain origin, and while it

may be improving, it may not be.         See Esperance Supp. Decl. (noting

that “if the cause of [Trenkler’s] heart failure is pacer-driven

cardiomyopathy, it is possible that his heart function may improve

with appropriate medical management [but] this is not true for all

patients.”). He has coronary artery disease, even if “very minor.”

See Goldberg Decl. ¶ 9, 10.           Moreover, it is undeniable that

Trenkler has a history of serious heart conditions.              See Gov’t

Opp’n 5, 19 (“The government does not dispute that Trenkler has

been    diagnosed     with   heart   block,    cardiomyopathy,    and     non-

obstructive coronary artery disease.”).

       Trenkler argues that the wide-spread COVID-19 outbreak among

the USP Tucson inmate population this past winter demonstrates

that his risk for severe disease or death is imminent.              Indeed,

the BOP reports that, as of the date of this decision, 878 inmates

and 118 staff have recovered from a COVID-19 infection at USP




        See CDC, Certain Medical Conditions and Risk for Severe
       13

COVID-19 Illness, https://www.cdc.gov/coronavirus/2019-ncov/need-
extra-precautions/people-with-medical-conditions.html#heart-
conditions (last visited May 5, 2021).
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Tucson. 14        See    Federal    Bureau    of   Prisons,    COVID-19      Cases,

www.bop.gov/coronavirus (last visited May 5, 2021).                   Moreover, 11

inmates have died from COVID-19 while incarcerated at USP Tucson.

Id.     When ranked by number of recovered inmates, there can be no

question that USP Tucson ranks as having had one of the hardest

hit BOP inmate populations in the country.             Id.     Regardless of the

extensive mitigation and containment efforts the BOP contends it

has in place, see generally Decl. of Shannon Bass, Ex. 2 to Gov’t

Opp’n, ECF No. 758-2, those efforts either were ineffective at the

height of the pandemic or ineptly executed.                No other reasonable

conclusion can be reached from the raw infection data.

       But the COVID-19 pandemic landscape is improving – both

nationally and at USP Tucson.           As of this writing, the BOP reports

there       are   no    current    COVID-19   infections      among    the   inmate

population and staff at the facility.              Federal Bureau of Prisons,

COVID-19 Cases, supra. The government represents that, as of March

30, 2021, at least 200 of the 1,349 inmates incarcerated at USP




        USP Tucson has an inmate population of 1,257 as of this
       14

writing.      See  Federal   Bureau   of  Prisons,   USP   Tucson,
https://www.bop.gov/locations/institutions/tcp/ (last visited May
5, 2021). The government asserts that USP Tucson’s infection rate
is less than 70% (878 cases divided by 1,257 inmates) because some
inmates have been released from the penitentiary and other inmates
have moved in. See Gov’t Sur-Reply 3 n.4, ECF No. 773. The number
of infected inmates, however, has gone down over time, perhaps
suggesting that the BOP removes from their accounting inmates who
have left the facility. Regardless, the infection rate, on this
record, remains concerning.
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Tucson’s maximum security facility and adjacent minimum security

camp have received two shots of the Pfizer or Moderna vaccines,

and an additional 700 inmates have received their first shot.

Gov’t Status Report 1, ECF No. 785.           At least 70% of the USP Tucson

staff also have been vaccinated against COVID-19.                   Id. at 2.     A

total of 864 inmates, as of the end of March, had recovered from

COVID-19.   Id. at 1.     The BOP offered Trenkler a vaccine on March

18, 2021, and he declined it.           Id. at 2.      He was again offered,

and accepted, the first dose of the Moderna vaccine on April 20,

2021.   Not. of Vaccination, ECF No. 800.

     The Court concludes that the combination of Trenkler’s age,

smoking history, overweight-to-obese BMI, hypertension, and heart

condition place him at heightened risk of severe illness or death

were he to contract COVID-19 before vaccination. See United States

v. Ramirez, 459 F. Supp. 3d 333, 340 (D. Mass. 2020) (concluding

“that   compassionate    release      may    be   available   for    those   at   a

particularly    high    risk   from    the     coronavirus,    provided      their

release is otherwise appropriate under the section 3553 factors”

(citing 18 U.S.C. § 3582(c)(1)(A)); see also Gov’t Opp’n 7.                  That

said, because Trenkler has received his first shot of the Moderna

vaccine, and because of the state of the virus at USP Tucson has

significantly    improved,     the     Court      concludes   that    Trenkler’s

heightened risk for severe COVID-19 does not rise to the level of

extraordinary and compelling circumstances.             See United States v.

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Baeza-Vargas, No. CR1000448010PHXJAT, 2021 WL 1250349, at *3 (D.

Ariz. Apr. 5, 2021) (denying compassionate release for an inmate

with preexisting health conditions where COVID-19 vaccine was

offered and collecting cases).                    These factors may, however, be

appropriate to consider when assessing whether a reduction in the

sentence should be granted as part of the § 3553(a) analysis.

             2.     Circumstances Surrounding Conviction and Sentence

       In   addition      to     the     risks    associated    with    the    COVID-19

pandemic, Trenkler urges the Court to reduce his sentence to time

served in light of the “unique circumstances” surrounding his case.

Those unique circumstances, in Trenkler’s view, include questions

surrounding       his    guilt     and    the     fundamental   unfairness      of   his

conviction; the disproportionality of his sentence as compared to

Shay, Jr.’s sentence; and his unlawfully imposed life sentence.

See Def.’s Mot. 17-25.

       On   the   first     charge,       Trenkler     argues   that    some    of   the

circumstantial          evidence       presented     against    him    at   trial    has

tarnished with age.            As discussed above, the First Circuit held,

on direct appeal, that the district court erred in admitting the

EXIS    database        evidence       but   nonetheless       concluded      that   its

introduction amounted to harmless error.                  Trenkler I, 61 F.3d 45.

In a compelling dissent, Judge Torruella made a strong argument

that introduction of the EXIS database was not harmless error.

Id. at 69 (Torruella, J., dissenting). Judge Torruella also called

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into doubt the trustworthiness of cellmate Lindholm’s testimony

against Trenkler.           Id.   Though Lindholm told the jury he had

received no benefit from his testimony against Trenkler, the

government    moved    to    reduce     Lindholm’s   sentence     shortly    after

Trenkler’s      conviction        and     sentencing,      citing     Lindholm’s

cooperation.     See Ex. 11 to Def.’s Mot., Government’s Motion for

Reduction of Sentence, ECF No. 121 in United States v. Lindholm,

No. 90-10080-WD (D. Mass. July 19, 1994).

     Moreover, the evidence and verdict at Shay, Jr.’s trial

reflect a jury finding that Shay, Jr. intended only to damage his

father’s car; the government made no mention of insurance proceeds

at Shay, Jr.’s trial.        See Ex. 1 to Def.’s Mot., at 10-12.         Lastly,

in and around 2007, five jurors wrote letters to Judge Zobel

stating that they had doubts about Trenkler’s guilt, as well as

concerns     about    the    homophobic       atmosphere   that   pervaded    the

government’s case and other aspects of the evidence and trial.

Some of the jurors asked Judge Zobel to correct these perceived

wrongs.    See Def.’s Submission of Juror Letters, ECF No. 777.

     These are serious but not overwhelming arguments.                 No doubt,

they raise concerns about Trenkler’s guilty verdict and draw into

question the fundamental fairness of his trial.                     But unlike a

situation where newly discovered DNA evidence makes clear beyond

doubt that a person has been wrongfully convicted, here, the

evidence and arguments raise questions and perhaps even doubts –

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but no more.    So while this Court may be able to say that a jury

today likely would not convict Trenkler because reasonable doubt

may exist, that is far short of concluding he is innocent.             These

issues   are    not   sufficient    to     establish   extraordinary        and

compelling circumstances.

     Trenkler’s next argument goes to the disproportionality of

the co-defendants’ sentences.       To be sure, Trenkler and Shay, Jr.

were given     different   terms   of    incarceration.    But    while     the

difference in their sentences is striking, this does not rise to

the level of extraordinary or compelling circumstances.              The co-

defendants’ respective juries made different findings as to each

defendant.     Indeed, a jury initially acquitted Shay, Jr. of one

count, and Shay, Jr. pleaded guilty to the remaining two counts

after his conviction was reversed.            In Shay, Jr.’s case, the

district court determined the appropriate starting offense level

was 33, and that the felony murder cross reference under U.S.S.G.

§ 2A1.1 cmt. n.2(B) did not apply.          See Shay Jr. Sentencing Hr’g

(Oct. 8, 1993) Tr. 101:9-19, 122:2-22, ECF No. 758-6.             Trenkler’s

jury, in contrast, convicted him on all three counts, and the judge

found that § 2A1.1 cmt. n.2(B) did apply, making the starting

offense level 43. The distinction between the two cases’ Guideline

calculations is a technical one, to say the least.               Because the

two defendants scored differently under the federal sentencing

Guidelines, however, it is to be expected that they would receive

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different sentences.      But while some degree of disparity is to be

expected,    the   18   U.S.C.   §    3553   factors    and    the    Sentencing

Guidelines counsel that unwarranted disparities are to be avoided.

Therefore, while this difference (between 144 months and life)

does not amount to extraordinary and compelling circumstances, it

can and should be considered when determining the appropriate level

of sentence reduction, in the event a reduction is appropriate

under § 3582(c)(1)(A).      See United States v. Reyes-Santiago, 804

F.3d 453, 467 (1st Cir. 2015) (noting that the First Circuit has

“routinely rejected disparity claims . . . because complaining

defendants    typically   fail   to     acknowledge    material      differences

between their own circumstances and those of their more leniently

punished confederates”).

       That leaves the error that occurred in Trenkler’s original

sentencing.     The government argues that this Court cannot properly

consider the sentencing error under § 3582(c)(1)(A)(i).                   First,

the government argues that the Sentencing Commission’s policy

statement on compassionate release, U.S.S.G. § 1B1.13, applies to

inmate-filed motions.      Gov’t Resp. to Court’s Order 1-4, ECF No.

793.    As addressed above, the Court disagrees on that score, and

follows   the   ever-mounting        authority   holding      that   a   district

court’s discretion on an inmate-filed motion for compassionate

release is not constrained by § 1B1.13.                See supra Part II.A.

Second, the government argues that this Court is constrained by

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the First Circuit’s decision in Trenkler VI, which vacated Judge

Zobel’s grant of coram nobis relief and reinstated Trenkler’s

original sentence.     Gov’t Resp. to Court’s Order 4-8.          Precedent

suggests otherwise.

     In Trenkler VI, 536 F.3d 85, the Court of Appeals found that

the district court was without jurisdiction to grant coram nobis

relief because the motion was in effect a second or successive

petition under § 2255 filed without leave from the court and barred

by AEDPA.   Id. at 97-100.    While the Court of Appeals acknowledged

that the imposition of a life sentence by the trial judge, rather

than the jury, was an “apparent error”, it characterized the error

as procedural in nature and not substantive, and therefore not a

“miscarriage of justice” as that term has been interpreted by the

Supreme Court.    Id. at 99.     The court recognized that this left

Trenkler unable to challenge an apparently unlawfully imposed life

term, but such a result was necessary in order to give effect to

AEDPA. What the court wrote on that occasion bears repeating here,

inasmuch as it makes so clear that courts are required to give

fealty to Congress’s will:

          We appreciate the able district judge’s desire to
     correct an apparent error attributable to the lawyers’
     shared misperception. We admire as well the ingenuity
     displayed by appointed counsel in attempting to rectify
     that mistake. But the rule of law must remain paramount
     and, as Lord Campbell warned long ago, hard cases have
     a propensity to make bad law. That propensity must be
     held in check. That is our obligation here.


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           Implicit in the scheme created by AEDPA is the
     notion that certain claims, which might have been
     fruitful if timely asserted, may be foreclosed when a
     convicted defendant sleeps upon his rights.    That our
     criminal justice system tolerates a certain risk of
     error might be of concern to some, but finality is
     indispensable to the proper functioning of that system.
     Under AEDPA, there is typically “only one bite at the
     post-conviction apple.”   The petitioner has had that
     bite.

Trenkler VI, 536 F.3d at 99 (internal citations omitted).

     The government argues that this holding puts the final nail

in the coffin as far as Trenkler’s attempts to get post-conviction

relief are concerned.      See Gov’t Opp’n 9.       This argument misses

the mark.   The First Circuit’s holding was premised upon a strict

application of AEDPA (once the court found the underlying petition

for a writ of coram nobis was effectively a motion under § 2255).

Trenkler VI, 536 F.3d at 97-100.          But now Congress has spoken

again.   And this time it has given trial judges broad authority –

indeed it has imposed a statutory duty, upon a defendant’s motion

– to conduct an individualized review of the defendant’s case for

extraordinary   and   compelling    circumstances     that   call   out     for

correction.   See Maumau, 2021 WL 1217855, at *12 (holding that the

district court had discretion to grant compassionate release after

an individualized review of all the circumstances of the case,

including the “incredible length of” the defendant’s § 924(c)

stacked sentences); Brooker, 976 F.3d at 237–38 (holding that a

court should consider “all possible reasons for compassionate


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release”, including the “injustice of [a defendant’s] lengthy

sentence”).    Moreover, at the time of this writing, there is a

growing   consensus    among    courts     that    there    are   few   if   any

limitations   on   what   may   be   considered        an   extraordinary    and

compelling reason warranting release, even those claims that have

been rejected on direct appeal or collateral attack.                See, e.g.,

United States v. McGee, No. 20-5047, 2021 WL 1168980, at *1-2 (10th

Cir. Mar. 29, 2021) (holding that a district court would have

authority to grant relief where the defendant sought relief from

a mandatory life sentence that had been upheld on direct appeal

and withstood collateral attacks); United States v. Cano, No. 95-

00481-CR, 2020 WL 7415833, at *5-*6 (S.D. Fla. Dec. 16, 2020)

(granting compassionate relief where the defendant claimed in part

that the court erred in sentencing him to life imprisonment and

that claim had been rejected on direct appeal and in collateral

attacks).

     The cases granting relief from sentences stacked under 18

U.S.C. § 924(c) are instructive.           As background, prior to 2018,

§ 924(c)(1)(C) required district courts to impose a higher, and

escalating,   penalty     for   a    “second      or   subsequent   count    of

conviction” under § 924(c)(1)(C), including in a single case with

multiple counts.      This resulted in lengthy, so-called “stacked”,

sentences.    McCoy, 981 F.3d at 285.          In 2018, the First Step Act

amended § 924(c)(1)(C) to trigger the higher penalty for a “second

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or subsequent count of conviction” under § 924(c) only when a

defendant has a final conviction under § 924(c) in a prior case.

Id. (citing § 403(a), 132 Stat. at 5222).                        Congress did not,

however, make this amendment retroactive. Id. Nonetheless circuit

and     district     courts     have     overwhelmingly          held    that,    after

conducting an individualized review, a district court has broad

discretion       under    §   3582(c)(1)(A)        to   reduce    §   924(c)     stacked

sentences in light of Congress’s decision to eliminate stacked

sentences     prospectively.           See,    e.g.,    McCoy,    981    F.3d    at   285

(collecting cases); Jones, 482 F. Supp. 3d at 980–81 (collecting

cases).       As    the   Fourth     Circuit    explained,       “the    very    purpose

of § 3582(c)(1)(A) is to provide a ‘safety valve’ that allows for

sentence reductions when there is not a specific statute that

already affords relief but ‘extraordinary and compelling reasons’

nevertheless justify a reduction.”                 McCoy, 981 F.3d at 287 (citing

Jones, 482 F. Supp. 3d at 980–81).

       These cases – and others like them – leave no question that

this     Court     may    conclude     that    a    legal   error       at   sentencing

constitutes an extraordinary and compelling reason, and reduce the

sentence after conducting an individualized review of the case. 15



        The government’s cited cases to the contrary are not
       15

convincing. To the extent these cases do not fully delve into the
background and context of the First Step Act’s amendment to
§ 3582(c)(1)(A), as addressed above, this Court does not find them
persuasive. See, e.g., United States v. Handerhan, 789 F. App’x
924, 926 (3d Cir. 2019) (summarily dismissing in an unpublished
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Here, the Court is deploying the broad discretion provided in one

statute – § 3582(c)(1)(A) – to effectuate Congress’s clearly stated

intent in a separate statute, see 18 U.S.C. § 34, as incorporated

by 18 U.S.C. § 844 (1993).             In this respect, this case stands on

even firmer ground than the § 924(c) stacking cases because there

is   no   space    between    this   Court’s     exercise   of   discretion   and

Congress’s intent at the time of Trenkler’s sentencing.                   Other

courts     have    similarly     used      their    broad   discretion    under

§ 3582(c)(1)(A) to correct sentencing errors.                See, e.g., United

States v. Lopez, No. 11-CR-568 (PKC), 2021 WL 761850, at *4

(S.D.N.Y. Feb. 26, 2021) (holding that “the significant error in

[the defendant’s] Guidelines calculation[] and the absence of any

other     avenue     to      correct     th[e]     error    constitute[s]      an




decision a pro se defendant’s arguments for compassionate release
based on a sentencing error, querying “‘whether an alleged
sentencing error that was correctible in prior proceedings could
ever be an ‘extraordinary and compelling reason’”). Moreover, to
the extent the cases address legal errors that may still be
remedied through traditional appellate avenues, they are readily
distinguishable from the instant case wherein appellate and post-
conviction processes cannot provide relief.     See, e.g., United
States   v.   Lisi,  440   F.   Supp.   3d  246,   251   (S.D.N.Y.
2020), reconsideration denied, No. 15 CR. 457 (KPF), 2020 WL
1331955 (S.D.N.Y. Mar. 23, 2020) (“[T]he Court believes that it
would be both improper and inconsistent with the First Step Act to
allow Lisi to use 18 U.S.C. § 3582(c)(1)(A) as a vehicle for
claiming legal wrongs, instead of following the normal methods of
a direct appeal or a habeas petition.”); United States v.
Rivernider, 3:10-CR-222(RNC), 2020 WL 597393, at *5 (D. Conn. Feb.
7, 2020) (noting that the defendant, in his motion for
compassionate release, reasserted arguments that had failed on
direct appeal or were part of his pending habeas case).
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‘extraordinary and compelling reason’ for sentence reduction”);

United States v. Wahid, No. 1:14-CR-00214, 2020 WL 4734409, at *3

(N.D. Ohio Aug. 14, 2020) (granting compassionate relief where the

defendant was classified as a career offender and subsequent case

law clarified that classification was in error).

     Here, it is both extraordinary and compelling that (1) a judge

sentenced a defendant to life imprisonment using a preponderance

of the evidence standard where the controlling statute provided

that a life sentence could be imposed only by the jury; and (2)

there exists no available avenue for relief from this legal error.

     Having concluded that the facts of this case constitute

extraordinary and compelling circumstances warranting a sentence

reduction, the extent of the sentence reduction is left to the

discretion of the Court, with consideration of the sentencing

factors   set   forth   in   18   U.S.C.   §   3553.    See   18   U.S.C.   §

3582(c)(1)(A).

     D.    Determination of the Sentence Reduction

           1.    The Two Prior Sentences Imposed by the District
                 Court

     To recap, Judge Zobel originally imposed a life sentence in

1994 without submitting the question of sentencing to the jury as

required by the statute at the time.           Importantly, as to Count 2,

she found Defendant acted with an intent to kill.             Based on this

finding, the federal sentencing Guidelines directed the district


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court to § 2A1.1, First Degree Murder, for which the offense level

was and still is designated as 43, and the Guideline range is Life.

See U.S.S.G. § 2A1.1.     At the time of the sentencing in 1994, and

notwithstanding the statute, such findings were made by trial

judges in the ordinary course.        In addition, in 1994 the federal

sentencing Guidelines were mandatory, not advisory, so Judge Zobel

would not have had the discretion to vary from the life sentence.

     By the time the sentencing error was discovered and Trenkler

was before Judge Zobel for resentencing in 2007, federal sentencing

law had changed dramatically.       In 2000, the Supreme Court decided

Apprendi v. New Jersey, 530 U.S. 466 (2000), which held that it

was a violation of a defendant’s Sixth Amendment right to a jury

trial for a judge to make factual findings that had the effect of

increasing a sentence beyond the statutory maximum for the crime

of conviction.    Then, in Ring v. Arizona, 536 U.S. 584 (2002), the

Court   found   unconstitutional    Arizona’s    death   penalty   statute,

which allowed judges to make the factual findings necessary for

the imposition of the death penalty.        Two years later, in Blakely

v. Washington, 542 U.S. 296 (2004), the Court held that Washington

state’s   sentencing     guidelines      effectively     constituted        the

statutory maximum for purposes of applying the Sixth Amendment

right to have a jury find any fact that increases a sentence.               All

of this was, of course, a prelude to the Supreme Court’s landmark

holding in United States v. Booker, 543 U.S. 220 (2005).             There,

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following the lead of Blakely, the Court held, 5-4, that the

federal sentencing Guidelines, because they were mandatory, were

unconstitutional to the extent that they allowed judges to make

factual findings that increased the Guideline range.              Id. at 220-

44 (“Constitutional Booker”).          To solve this problem, the Court,

in a separate 5-4 opinion with a different line-up of Justices,

held that the Guidelines were no longer mandatory, but rather

advisory.       Id. at 244-68 (“Remedial Booker”). 16

     Booker was a major shift in federal sentencing law.                Judges

who had previously sentenced defendants mechanically based on

rigid Guidelines now had discretion to impose sentences within or

outside the Guidelines, as they felt just.               But the extent and

limitations on that discretion was not obvious in the immediate

aftermath of Booker.           In a flurry of opinions by both district

courts    and    courts   of   appeals,     judges   attempted   to   put   some

guideposts in place to govern Booker’s grant of discretion.                  It

took several years, and at least three more important decisions,

see Kimbrough v. United States, 552 U.S. 85 (2007); Gall v. United

States, 552 U.S. 38 (2007); Spears v. United States, 555 U.S. 261

(2009), for the dust to fully settle, and for the Supreme Court to


     16 Justice Stevens, in his dissent, suggested that a more
appropriate remedy to the constitutional problem with the
Guidelines would be to have juries decide factual issues that could
increase the Guideline range. Booker, 543 U.S. at 284–85 (Stevens,
J., dissenting).   In the months after Booker was decided, some
judges (this one included) experimented with this approach.
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vest district courts with complete discretion to vary from the

Guideline range, so long as variances are explained with reference

to the governing standards of 18 U.S.C. § 3553.

       This history is important context here.             Between the original

sentencing      in    1994   and   the   resentencing     in   2007,     the   entire

landscape of sentencing shifted. Judge Zobel in 1994 was operating

in a legal framework (putting aside the statutory requirement that

the jury impose any life sentence) where (1) it was common and

appropriate for judges to make factual findings that would have

the    effect    of    increasing     the     maximum   penalty;    and    (2)   the

applicable Guideline range was binding on the court.                     Thus, once

she found that Trenkler had the intent to kill, and his offense

level was 43, she had no choice but to impose the life term.                     When

she resentenced Trenkler in 2007, she declined to make any factual

findings and relied on only the jury’s verdict.                    She determined

that in the absence of a jury finding the verdict on Count 2 could

only be read as a finding that Trenkler acted with the intent to

destroy property with death resulting, the least culpable conduct

criminalized         under   the   statute.      But    because    the   crime    was

committed in connection with another felony, the Guideline for

felony murder applied, § 2A1.1 cmt. n.2(B). 17                 As a result, his



        Section 2A1.1 cmt. n.2(B) of the 2007 U.S. Sentencing
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Guidelines, as well as the 2018 Sentencing Guidelines, currently
in effect, provides that the Guideline range starts at 43, but may
be adjusted downward:
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Guideline offense level remained 43 (with a now advisory range of

Life), with the commentary that the sentencing judge could depart

(or vary) downward based on the circumstances.              Judge Zobel’s

statement with respect to her assessment in relevant part was as

follows:

          [T]he jury found the defendant guilty on two
     counts, each of which described the conduct and stated
     that, “The above-described unlawful conduct directly and
     proximately caused the death of Jeremiah Hurley and
     serious personal injury to Francis Foley, both public
     safety officers who were performing their official
     duties.”

          This provision was specifically brought to the
     jury’s attention during the charge, and I think that
     that being the case and the jury having returned guilty
     verdicts on each of Counts 2 and 3, the statutory maximum
     on those counts is not ten years, but in the context of
     this case life, because the statute, as counsel have
     pointed out, has a ten-year maximum for using the least



     Felony Murder.—If the defendant did not cause the death
     intentionally or knowingly, a downward departure may be
     warranted. For example, a downward departure may be
     warranted if in robbing a bank, the defendant merely
     passed a note to the teller, as a result of which the
     teller had a heart attack and died. The extent of the
     departure should be based upon the defendant’s state of
     mind (e.g., recklessness or negligence), the degree of
     risk inherent in the conduct, and the nature of the
     underlying offense conduct.    However, departure below
     the minimum guideline sentence provided for second
     degree murder in §2A1.2 (Second Degree Murder) is not
     likely to be appropriate. Also, because death obviously
     is an aggravating factor, it necessarily would be
     inappropriate to impose a sentence at a level below that
     which the guideline for the underlying offense requires
     in the absence of death.

U.S.S.G. § 2A1.1 cmt. n.2(B) (2007); see also U.S.S.G. § 2A1.1
cmt. n.2(B) (2018).
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     of the elements of the offense for damaging – for using
     explosives to damage personal property.     However, if
     personal injury results, the maximum becomes 20 years,
     and if death results, the maximum becomes life.       I
     believe that the jury having determined that death
     resulted, the maximum is not ten years, but life.

          Now, that takes me to the Guidelines.

          To find the defendant guilty on Count 2 – and I
     focus on Count 2 because it is different by the addition
     of the intent to kill. The jury had to determine that
     the defendant used explosive material either to kill,
     injure or intimidate Mr. Shay, Sr., or to cause property
     damages.

                                         ***

          Since even damaging property by means of explosives
     is a felony, the finding that death resulted makes the
     offense felony murder, and felony murder carries a
     Guideline and Total Offense Level of 43. So, that is
     the offense level that I come to without making the fact
     findings that I believe now were, in fact, wrong.

          The parties disagree as to whether I may
     appropriately impose a life sentence at this time, and
     I will not because – partly out of an abundance of
     caution and given the discretion that Booker allows.

          I do sentence you to a term of imprisonment of 37
     years, which is the life expectancy at the time of the
     original sentence. That is the sentence on Counts 2 and
     3. I sentence you to a term of five years on Count 1.
     All of these are to be served concurrently. I do not
     believe   that  stacking   is  appropriate   or  legal.
     Therefore, the sentences are to be served concurrently.

Resentencing Tr. 60-62, ECF No. 758-5.

     All of this matters now as context for several reasons.

First, while the First Circuit held in Trenkler VI that Judge Zobel

lacked jurisdiction to impose the revised sentence, it has never

been suggested that her assessment of an appropriate sentence, in

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the    post-Apprendi,     post-Booker,      environment   was   substantively

wrong or unreasonable; her recitation of law and the Guideline

application was correct then, as it is now. Second, and relatedly,

Judge Zobel had the discretion to impose any term of years she

deemed appropriate under Booker, and she exercised her discretion

in reaching the decision to impose a 37-year sentence, Trenkler’s

life expectancy at the time of his original sentencing 18; and third,

she concluded – as the undersigned judge has now also independently

concluded – that one can only be certain from the jury’s verdict


        The weight of authority interpreting 18 U.S.C. § 34, as
       18

incorporated by 18 U.S.C. § 844 (1993), made clear that a court
may not impose a life sentence absent the jury’s directive. See,
e.g., United States v. Hansen, 755 F.2d 629, 631 (8th Cir.
1985)(holding that the court not impose a life sentence where the
record did not reflect that the jury recommended it); United States
v. Williams, 775 F.2d 1295, 1299 (5th Cir. 1985)(holding that, in
the absence of a “jury recommendation or jury waiver,” the court
could not sentence the defendant to life imprisonment); United
States v. Prevatte, 66 F.3d 840, 845-46 (7th Cir. 1995); United
States v. Gullett, 75 F.3d 941, 949-50 (4th Cir. 1996); United
States v. Tocco, 135 F.3d 116, 131 (2d Cir. 1998). As a result,
many courts further took the view that a sentence just shy of the
defendant’s life expectancy was the appropriate ceiling for a
judge-imposed sentence under the statute. See, e.g., Tocco, 135
F.3d at 131-32 (affirming a sentence calculated to be, inclusive
of good time, approximately one month less than the defendant’s
life expectancy); United States v. Martin, 115 F.3d 454, 455 (7th
Cir. 1997)(affirming a 25 year sentence imposed on a defendant
with a 25.9-year life expectancy); Gullett, 75 F.3d at 950-51
(upholding sentence calculated to be, inclusive of good time, less
than a year below the defendant’s life expectancy); Prevatte, 66
F.3d at 845-46 (vacating sentence and remanding to the district
court to impose a sentence not greater than the defendant’s life
expectancy). This appears to be the conservative approach taken
by Judge Zobel in 2007.

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that the jury found Trenkler had the intent to cause property

damage with death resulting.             All of this, while clearly not

binding, informs the Court regarding the thinking of the trial

judge who viewed the evidence, heard the arguments, and had the

opportunity to reflect over 14 years about the case.                  For this

Court, in conducting an independent assessment under the First

Step Act, this is valuable context.           To reach a conclusion on what

sentence should be imposed, the Court turns to an evaluation of

the factors under § 3553.

      2.    Sentencing Factors under 18 U.S.C. § 3553

      As   there   are   no    applicable     Sentencing   Commission   policy

statements governing defendant-filed motions for compassionate

release, the Court turns to the sentencing factors under 18 U.S.C.

§ 3553.    To begin, as discussed above, the offense level under the

Guidelines is 43, and at Criminal History Category I, the advisory

Guideline range is Life.            However, the Court is prohibited from

imposing a life term or a term of years in excess of life expectancy

for the reasons discussed.            Pursuant to U.S.S.G. § 2A1.1 cmt.

n.2(B), the Court may depart or vary down from level 43 depending

on the defendant’s conduct. 19

      With respect to the first factor, the nature and circumstances

of   the   offense    and     the   history   and   characteristics     of    the



       Section 994(t) provides that “[r]ehabilitation . . . alone
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shall not be considered an extraordinary and compelling reason.”
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defendant, Trenkler stands before the Court convicted of extremely

serious crimes.         Trenkler was convicted of building a bomb that

resulted in the horrific death of one on-duty officer and the

maiming of a second officer.               It was a heinous crime that required

forethought and planning.             But like Judge Zobel, the Court cannot

conclude that the jury found he intended to kill Shay, Sr.                    It is

obvious, however, that a bomb of this nature had a very high

potential to kill and/or injure.                  It would take great skill, or

luck, to detonate a bomb attached to a car in a residential area

without doing so.            Thus, to the extent that § 2A1.1 cmt. n.2(B)

suggests        that   the   Court    should      take   into   consideration      the

circumstances of the crime and how it led to death in determining

whether     a    departure     (or,    a    variance     pursuant   to   Booker)    is

appropriate, Defendant deserves little in the way of mitigating

credit.

       Trenkler’s characteristics (then as now) suggest a sentence

short of life expectancy could be appropriate.                       Prior to the

commission of this offense, Trenkler had no significant criminal

history, though he had stipulated to having made the Quincy device.

He was a young adult, age 35, at the time of the offenses.                    He is

obviously much older now, and he has a number of well-documented

(if     somewhat       disputed)      health      conditions    discussed    above.



28 U.S.C. § 994(t). Counsel make no argument as to rehabilitation,
and the Court does not consider it.
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Moreover, defense counsel represents – and the government does not

dispute      –   that   Trenkler     has    had       no   significant     disciplinary

infractions while incarcerated.                 Def.’s Mot. 26.

       The sentence to be imposed must reflect the seriousness of

the    offenses,     promote      respect       for   the    law,   and    provide   just

punishment.         Trenkler argues that, in 2020, the median sentence

imposed under federal law for murder (excluding manslaughter, but

including second degree murder and conspiracy or solicitation to

commit murder) was nineteen years. 20                 But this figure is misleading

in the breadth of offenses it covers.                      This Court requested more

precise      data    from   the    U.S.     Sentencing        Commission     for     cases

involving        convictions   under       §§    844(d)      or   844(i)   where     death

resulted.        Of the roughly 15 cases found from 2007 forward, 5

received life; 1 received 600 months (effectively life); 6 received

360 months or greater (but less than life); and 3 less than 360

months. 21       As just discussed, the nature of the crime here was

truly horrible, in design and effect. It reflects a deep disregard

for human life, and for the potential collateral damage likely to

be inflicted.           The bomb easily could have killed more people,




       See U.S. Sentencing Commission, 2020 Sourcebook, Sentence
       20

Imposed by Type of Crime, Fiscal Year 2020 (Table 15 & App. A),
https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/annual-reports-and-sourcebooks/2020/2020-Annual-
Report-and-Sourcebook.pdf.

       21   Email on file with the Court.
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including children.             This depravity cannot be ignored.                  So, even

without a jury finding of intent to kill, the Court is left with

an abiding conviction that Trenkler, at best, did not care who he

killed.      And a sentence similar to the sentences meted out in the

above-referenced cases is called for.

       Trenkler asks this Court to consider the questions and issues

surrounding his trial and conviction.                      As discussed earlier, none

of   these      issues        rise   to    the    level     of    demonstrating         actual

innocence, and he does not so argue.                     Rather, he seems to suggest

that     the     sentence        should     be        discounted       to   reflect      these

uncertainties.          This is an understandable plea, but it is not how

the law works.          This Court is duty bound to respect and give full

effect to the verdict of the jury, and thus the Court gives little

weight     to        Defendant’s     argument          regarding       these    doubts    and

concerns.        But while the Court cannot second guess the jury’s

verdict,        it     can,     in   determining         the     appropriate      sentence,

administer justice with a measure of mercy, even for one who is

convicted of a heinous crime.

        As Judge Zobel noted, Trenkler’s life expectancy in 1994 was

75 years.       This Court believes it is more appropriate to consider

present life expectancy when determining an appropriate reduction.

Today, Trenkler’s statistical life expectancy is approximately 83

years – or 18 more years.                  See Social Security Administration,

Period          Life          Expectancy          (Table         1),        available      at

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https://www.ssa.gov/OACT/NOTES/ran2/an2020-2.pdf.                Translated

into a term of years, this would be a sentence of 46 years.                 In

the Court’s view, a sentence of 41 years would be one that reflects

the seriousness of the offenses, promotes respect for the law, and

provides just punishment for the offenses, while taking into

account the history and characteristics of Defendant.               Moreover,

such a lengthy sentence under these conditions would also provide

adequate   deterrence   (both    specific     and   general)   to    criminal

conduct.   By the time Trenkler is released, he will have served

over three decades (assuming good time) in U.S. Penitentiaries,

including through a pandemic. 22

      The Court is also satisfied that this sentence serves to

protect the public from further crimes of the defendant. Defendant

is, statistically speaking, very unlikely to reoffend.              See U.S.

Sentencing Commission, The Effects of Aging on Recidivism Among

Federal           Offenders              3,          available              at

https://www.ussc.gov/sites/default/files/pdf/research-and-

publications/research-publications/2017/20171207_Recidivism-

Age.pdf (finding that “[o]lder offenders were substantially less

likely than younger offenders to recidivate following release[,]”

and more specifically, that “13.4 percent of offenders age 65 or


     22Trenkler has served about 28 years thus far. If he were
to serve the additional 13 years, he would be approximately 78
years old at the time of release. With good time credit, he will
likely be in his early 70s upon release.
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older at the time of release were rearrested compared to 67.6

percent of offenders younger than age 21 at the time of release”).

A defendant over the age of 60 who has served more than 120 months

has a 5.1 percent chance of recidivism.             Id. at 18.     Moreover,

because Trenkler holds a college degree and was classified in

Criminal History Category I, he is statistically even less likely

to reoffend upon release.       Id. at 3.

     Furthermore,      the   Court   concludes    that,   given   Trenkler’s

medical needs, reducing his sentence to a term of 41 years will

allow him to seek needed medical care outside of a prison setting

during the final years of his life.         Trenkler also appears to have

a stable and supportive residence to which he can be released.

According to counsel, David Wallace, Trenkler’s half-brother, has

offered to have Trenkler live with him in Maine.            Def.’s Mot. 26.

Trenkler also    has    been   supported    by   people   dedicated   to    his

innocence throughout his incarceration, and this added support

perhaps will be of assistance upon his release.




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         This sentence falls within the applicable sentencing range

established for this category of offense and defendant, as set

forth in the Guidelines.         The Court finds that this sentence will

also further the goal of avoiding unwarranted sentence disparities

among defendants with similar records who have been found guilty

of similar conduct, as 41 years is well within the range of

appropriate sentences for the offense conduct at issue as discussed

above.      And, such a sentencing reduction will reduce the disparity

between Trenkler’s sentence and Shay, Jr.’s sentence.

       Accordingly, considering all of the § 3553 factors and all of

the issues discussed herein, the Court reduces the sentence to a

term of 41 years, with 5 years of supervised release.                The Court

finds this sentence is sufficient but not greater than necessary

for    the    offenses   of   conviction.       See   generally     18   U.S.C.

§ 3553(a). 23




       Nothing in this Opinion and Order should be read in any way
       23

to reflect a lack of empathy for the surviving victim and victims’
families who have been so tragically impacted by this crime. I
have read the letters submitted by the victims’ family members,
colleagues, and friends, and listened carefully to the moving
victim impact statements at the hearing on this motion. I feel
their pain as much as anyone in my position can. Sentencing is
the most difficult task that judges perform. My duty is to look
at the entire picture including the law as discussed herein, and
including the impact on victims, and to the best of my ability, do
justice. I hope the surviving victim and the victims’ families
can understand the reasons for the Court’s decision, even as they
will no doubt disagree with them.


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III. CONCLUSION

     For the reasons set forth above, Defendant’s Motion for

Compassionate Release is GRANTED IN PART AND DENIED IN PART.                The

Court     reduces   Defendant’s   sentence   to   a   term   of   41   years’

imprisonment, followed by a term of supervised release of 3 years

on Count 1s, 5 years on Count 2s, and 5 years on Count 3s, all to

run concurrently. 24

IT IS SO ORDERED.




William E. Smith 25
District Judge
Date: May 6, 2021




     24 The Court orders conditions of supervised release as set
forth in the Addendum to this Opinion and Order.

     25 The Honorable William E. Smith, United States District
Judge for the District of Rhode Island, sitting by designation.
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     ADDENDUM: CONDITIONS OF POST-CONVICTION SUPERVISION
                   United States v. Alfred Trenkler
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1. You must not commit another federal state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to
    one drug test within 15 days of release from imprisonment and at least two periodic drug
    tests thereafter by the court.
4. You must cooperate in the collection of DNA as directed by the probation officer.
5. You must report to the probation office in the federal judicial district where you are
    authorized to reside within 72 hours of your release from imprisonment, unless the
    probation officer instructs you to report to a different probation office or within a
    different time frame.
6. After initially reporting to the probation office, you will receive instructions from the
    court or the probation officer about how and when you must report to the probation
    officer, and you must report to the probation officer as instructed.
7. You must not knowingly leave the federal judicial district where you are authorized to
    reside without first getting permission form the court or the probation officer.
8. You must answer truthfully the questions asked by your probation officer.
9. You must live at a place approved by the probation officer. If you plan to change where
    you live or anything about your living arrangements (such as the people you live with),
    you must notify the probation officer within 72 hours of becoming aware of a change or
    expected change.
10. You must allow the probation officer to visit you at any time at your home or elsewhere,
    and you must permit the probation officer to take any items prohibited by the conditions
    of your supervision that he or she observes in plain view.
11. You must work full time (at least 30 hours per week) at a lawful type of employment,
    unless the probation officer excuses you from doing so. If you do not have full-time
    employment you must try to find full-time employment, unless the probation officer
    excuses you from doing so. If you plan to change where you work or anything about
    your work (such as your position or your job responsibilities), you must notify the
    probation officer at least 10 days before the change. If notifying the probation officer at
    least 10 days in advance is not possible due to unanticipated circumstances, you must
    notify the probation officer within 72 hours of becoming aware of a change or expected
    change.
12. You must not communicate or interact with someone you know is engaged in criminal
    activity. If you know someone has been convicted of a felony, you must not knowingly
    communicate or interact with that person without first getting the permission of the
    probation officer.
13. If you are arrested or questioned by a law enforcement officer, you must notify the
    probation officer within 72 hours.
14. You must not own, possess, or have access to a firearm, ammunition, destructive device,
    or dangerous weapon (i.e., anything that was designed, or was modified for, the specific
    purpose of causing bodily injury or death to another person such as nunchakus or tasers).

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15. You must not act or make any agreement with a law enforcement agency to act as a
    confidential human source or informant without first getting the permission of the court.
16. If the probation officer determines that you pose a risk to another person (including an
    organization), the probation officer may require you to notify the person about the risk
    and you must comply with that instruction. The probation officer may contact the person
    and confirm that you have notified the person about the risk.
17. You must follow the instructions of the probation officer related to the conditions of
    supervision.
18. You shall participate in mental health treatment, as directed by the supervising officer,
    until released from the program by the supervising officer. You shall pay/co-pay for
    services during such treatment, to the supervising officer’s satisfaction.
19. You shall not use or possess any controlled substance, alcohol or other intoxicant; and
    shall participate in a program of drug and alcohol abuse therapy to the supervising
    officer’s satisfaction. This shall include testing to determine if Defendant has used drugs
    or intoxicants. You shall pay/co-pay for services during such treatment to the supervising
    officer's satisfaction. You shall not obstruct or tamper, or try to obstruct or tamper, in any
    way, with any tests.
20. A United States probation officer may conduct a search of the defendant and of anything
    the defendant owns, uses, or possesses if the officer reasonably suspects that the
    defendant has violated a condition of supervised release and reasonably suspects that
    evidence of the violation will be found in the areas to be searched. Searches must be
    conducted at a reasonable time and in a reasonable manner. Failure to submit to a search
    may be grounds for revocation of release.




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